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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION


     DENISE PLANTE,
                                                   CIVIL ACTION NO.:
                  Plaintiff,

     v.                                            JURY TRIAL DEMANDED

     MERRICK BANK and EQUIFAX
     INFORMATION SERVICES, LLC,

                  Defendants.


                                      COMPLAINT

          Plaintiff, Denise Plante (hereinafter “Plaintiff”), by and through her attorneys,

the Law Offices of Robert S. Gitmeid & Associates, PLLC, and by way of Complaint

against Defendants, Merrick Bank (“Merrick”) and Equifax Information Services,

LLC (“Equifax”) alleges as follows:


                                    INTRODUCTION

1.        This is an action for damages brought by an individual consumer for

          Defendants’ violations of the Fair Credit Reporting Act, 15 U.S.C. § 1681, et

          seq. (the “FCRA”) and other claims related to unlawful credit reporting

          practices. The FCRA prohibits furnishers of credit information from falsely

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     and inaccurately reporting consumers’ credit information to credit reporting

     agencies.


                                    PARTIES

2.   Plaintiff, Denise Plante, is an adult citizen of Rhode Island.


3.   Plaintiff is a "consumer" as defined by 15 U.S.C. § 1681a(c) of the FCRA.


4.   Defendant Merrick is a corporation organized and existing under the laws of

     Utah that furnishes consumer credit information to consumer reporting

     agencies.


5.   Defendant Equifax is a limited liability company that engages in the

     business of maintaining and reporting consumer credit information.


                        JURISDICTION AND VENUE

6.   This Court has subject matter jurisdiction over this matter pursuant to 28

     U.S.C. § 1331 because the rights and obligations of the parties in this action

     arise out of 15 U.S.C. § 1681 and 15 U.S.C. § 1681p, which provides that an

     action to enforce any liability created under 15 U.S.C. § 1681 may be

     brought in any appropriate United States District Court, without regard to

     the amount in controversy.




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7.    Venue in this district is proper pursuant to 28 U.S.C. § 1391(b)(1) because

      all defendants are residents of the state of Georgia and Defendant Equifax

      holds a principal office in this district.


                           FACTUAL ALLEGATIONS

8.    Defendant Merrick issued an account ending in 4785 to Plaintiff. The

      account was routinely reported on Plaintiff’s consumer credit report.

9.    The consumer report at issue is a written communication of information

      concerning Plaintiff’s credit worthiness, credit standing, credit capacity,

      character, general reputation, personal characteristics, or mode of

      living which serves as a factor in establishing the consumer’s eligibility for

      credit to be used primarily for personal, family, or household purposes as

      defined by 15 U.S.C. § 1681a(d)(1) of the FCRA.

10.   On or about September 11, 2019, Plaintiff and Merrick entered into a

      settlement agreement for the above referenced account. A recording of the

      settlement agreement is available upon request.


11.   Pursuant to the terms of the settlement, Plaintiff was required to make one

      (1) lump sum payment totaling $2,183.39 to settle and close her Merrick

      account.




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12.   Plaintiff, via her debt settlement representative, timely made the requisite

      settlement payment. Proof of this payment is attached hereto as Exhibit A.


13.   However, over half a year later, Plaintiff’s Merrick account continued to be

      negatively reported.


14.   In particular, on a requested credit report dated May 6, 2020, Plaintiff’s

      Merrick account was reported with a status of “CHARGE OFF”, a balance

      of $1,455.00, and a past due balance of $1,455.00. The relevant portion of

      Plaintiff’s credit report is attached hereto as Exhibit B.

15.   This trade line was inaccurately reported. As evidenced by the enclosed

      documents, the account was settled for less than full balance and must be

      reported as settled with a balance of $0.00.


16.   On or about September 25, 2020, Plaintiff, via her attorney, notified Equifax

      directly of a dispute with completeness and accuracy of the reporting of

      Plaintiff’s Merrick account. A redacted copy of this letter and the enclosures

      are attached hereto as Exhibit C.

17.   Therefore, Plaintiff disputed the accuracy of the derogatory information

      reported by Merrick to Equifax via certified mail in accordance with 15

      U.S.C. § 1681i of the FCRA.




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18.   In November of 2020, Plaintiff requested an updated credit report for

      review. The tradeline for Plaintiff’s Merrick account remained inaccurate,

      as Defendants failed to correct the inaccuracy. The relevant portion of the

      November 2020 credit report is attached hereto as Exhibit D.


19.   Equifax did not notify Merrick of the dispute by Plaintiff in accordance with

      the FCRA; or alternatively did notify Merrick, who then failed to properly

      investigate and delete the tradeline or properly update the tradeline on

      Plaintiff’s credit reports.

20.   If Merrick had performed a reasonable investigation of Plaintiff’s dispute,

      Plaintiff’s Merrick account would have been updated to reflect a “settled”

      status with a balance of $0.00.

21.   Despite the fact that Merrick has promised through its subscriber agreements

      or contracts to accurately update accounts, Merrick has nonetheless

      willfully, maliciously, recklessly, or negligently failed to follow this

      requirement as well as the requirements set forth under the FCRA, which has

      resulted in the intended consequences of this information remaining on

      Plaintiff’s credit reports.


22.   Defendants failed to properly maintain and failed to follow reasonable

      procedures to assure maximum possible accuracy of Plaintiff’s credit


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      information and Plaintiff’s credit report, concerning the account in question,

      thus violating the FCRA. These violations occurred before, during, and after

      the dispute process began with Equifax.

23.   At all times pertinent hereto, Defendants were acting by and through their

      agents, servants or employees, who were acting within the scope and course

      of their employment, and under the direct supervision and control of the

      Defendants herein.


24.   At all times pertinent hereto, the conduct of Defendants, as well as that of

      their agents, servants and employees, was malicious, intentional, willful,

      reckless, or negligent and in wanton disregard for federal law and the rights

      of the Plaintiff herein.


                                 CLAIM FOR RELIEF

25.   Plaintiff reasserts and incorporates herein by reference all facts and

      allegations set forth above.

26.   Equifax is a “consumer reporting agency,” as codified at 15 U.S.C. §

      1681a(f).

27.   Merrick is an entity who, regularly and in the course of business, furnishes

      information to one or more consumer reporting agencies about its



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      transactions or experiences with any consumer and therefore constitutes a

      “furnisher,” as codified at 15 U.S.C. § 1681s-2.


28.   Merrick is reporting inaccurate credit information concerning Plaintiff to one

      or more credit bureaus as defined by 15 U.S.C. § 1681a of the FCRA.


29.   Plaintiff notified Defendants directly of a dispute on the account’s

      completeness and accuracy as reported.


30.   Merrick failed to complete an investigation of Plaintiff’s written dispute and

      provide the results of an investigation to Plaintiff and the credit bureaus

      within the 30-day statutory period as required by 15 U.S.C. § 1681s-2(b).


31.   Merrick failed to promptly modify the inaccurate information on Plaintiff’s

      credit report in violation of 15 U.S.C. § 1681s-2(b).


32.   Equifax failed to delete information found to be inaccurate, reinserted the

      information without following the FCRA, or failed to properly investigate

      Plaintiff’s disputes.

33.   Equifax failed to maintain and failed to follow reasonable procedures to

      assure maximum possible accuracy of Plaintiff’s credit report, concerning

      the account in question, violating 15 U.S.C. § 1681e(b).




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34.   As a result of the above violations of the FCRA, Plaintiff suffered actual

      damages in one or more of the following categories: lower credit score,

      denial of credit, embarrassment and emotional distress caused by the

      inability to obtain financing for everyday expenses, rejection of credit card

      application, higher interest rates on loan offers that would otherwise be

      affordable, and other damages that may be ascertained at a later date.

35.   As a result of the above violations of the FCRA, Defendants are liable to

      Plaintiff for actual damages, punitive damages, statutory damages, attorney’s

      fees and costs.


      WHEREFORE, Plaintiff demands that judgment be entered against

Defendants as follows:

      (a)   That judgment be entered against Defendants for actual damages

            pursuant to 15 U.S.C. § 1681n or alternatively, 15 U.S.C. § 1681o;

      (b)   That judgment be entered against Defendants for punitive damages

            pursuant to 15 U.S.C. § 1681n;

      (c)   That the Court award costs and reasonable attorney's fees pursuant to

            15 U.S.C. § 1681n or alternatively, 15 U.S.C. § 1681o; and

      (d)   That the Court grant such other and further relief as may be just and

            proper.



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                           DEMAND FOR JURY TRIAL

      Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff

demands trial by jury in this action of all issues so triable.



                                  Respectfully Submitted,

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                                  ASSOCIATES, PLLC

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